                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


LANDSTAR BLUE, LLC,
a Florida limited liability
corporation,                                    Case No:

      Plaintiff,

v.

PERFECT 1, LLC,
A Ohio limited liability corporation,
GOZAL INCORPORATED,
A Ohio corporation, and
JANE AND JOHN DOES 1
THROUGH 10,

      Defendants.
                                        /

                                 COMPLAINT

       Plaintiff LANDSTAR BLUE, LLC by and through its undersigned

counsel, hereby submits and files its Complaint against Defendants, Perfect

1, LLC., Gozal Incorporated, and Jane and John Does 1 through 10 and in

support thereof states as follows:

                              INTRODUCTION

       1.    This is a civil action for damages in excess of $75,000.00,

exclusive of interest, costs, and attorneys’ fees, arising out of a dispute

between Plaintiff LANDSTAR BLUE, INC. (“Landstar”), a transportation

                                            1
broker,    and   Defendants,      PERFECT         1,   LLC.   (“Perfect”),   GOZAL

INCORPORATED         (“Gozal”),    each       a   motor   carrier   that     provides

transportation services, and DOES 1 through 10, each an individual officer,

director, and/or principal of Perfect or Gozal. Perfect and/or Gozal failed to

reimburse Landstar for damage of a shipment tendered to it, for which it has

liability under the Carmack Amendment, 49 U.S.C. § 14706. Perfect and/or

Gozal failed to indemnify Landstar for damage to that same shipment

tendered to it, as required by the parties’ Transportation Brokerage

Agreement, among other wrongs.

                   PARTIES, JURISDICTION, VENUE

      2.    Landstar is a Florida corporation with its principal place of

business located in Jacksonville, Florida.

      3.    Landstar is a property broker authorized by the Federal Motor

Carrier Safety Administration (with a motor carrier number of MC-1127248)

that arranges for the interstate transportation of property by various motor

carriers. Landstar also holds federal authority as an authorized motor

carrier.

      4.    Landstar is a citizen of Florida for the purpose of diversity

jurisdiction pursuant to 28 U.S.C. § 1332(c)(1).

      5.    Perfect is a Ohio corporation with its principal place of business

in West Chester, Ohio.
                                          2
      6.    Perfect is a for hire motor carrier authorized by the Federal

Motor Carrier Safety Administration (with a motor carrier number of MC-

922250) to transport property in interstate commerce.

      7.    Gozal is a Ohio corporation with its principal place of business in

Hooven, Ohio.

      8.    Gozal is a for hire motor carrier authorized by the Federal Motor

Carrier Safety Administration (with a motor carrier number of MC-99639) to

transport property in interstate commerce.

      9.    Jane and John Does I - V, at all material and relevant times,

acted as an individual officer, director, and/or principal of Perfect, which

knowingly authorized, consented to, or permitted, directly or indirectly,

unlawful brokering activities. The information of Jane and John Does I – V

will be updated upon receipt of same in discovery.

      10.   Jane and John Does VI through X, at all material and relevant

times, acted as individual officers, directors, and/or principals of Gozal,

which knowingly authorized, consented to, or permitted, directly or

indirectly, unlawful brokering activities. The information of Jane and John

Does VI – X will be updated upon receipt of same in discovery.

      11.   Because Landstar and Defendants are citizens of different

states, and because the amount in controversy, exclusive of interest, costs



                                      3
and attorneys’ fees, is over $75,000.00, this Court has subject matter

jurisdiction over this dispute pursuant to 28 U.S.C. § 1332.

      12.   This Court also has original jurisdiction, pursuant to 28 U.S.C §

1337(a), over claims for cargo loss and damage brought under the Carmack

Amendment, 49 U.S.C § 14706 where the amount in controversy exceeds

$10,000.00, as it does here.

      13.   On or about April 18, 2019, Perfect entered into                  the

Transportation Brokerage Agreement (“ Perfect Agreement”) with Landstar,

wherein Perfect agreed to transport cargo for customers of Landstar. The

Perfect Agreement is attached hereto as Exhibit A.

      14.   Paragraph 26 of the Perfect Agreement provides that:

      Each of the parties hereto irrevocably and unconditionally submits
      itself to the exclusive jurisdiction and venue of the state and
      federal courts serving Jacksonville, Florida, and any appellate
      court thereof, in any suit, action or proceeding arising out of or
      relating to this Agreement and further irrevocably and
      unconditionally waives any claim or defense that any such suit,
      action or proceeding brought in any such court has been brought in
      an inconvenient forum.

      15.   Accordingly, Perfect consented to the jurisdiction of this Court

and to this Court being a proper venue for this action, which arises out of

and/or relates to the Perfect Agreement.

      16.   On   or   about    August   1,   2018,   Gozal   entered   into   the

Transportation Brokerage Agreement (“Gozal Agreement”) with Landstar,



                                        4
wherein Gozal agreed to transport cargo for customers of Landstar. The

Gozal Agreement is attached hereto as Exhibit B.

      17.   Paragraph 26 of the Gozal Agreement provides that:

      Each of the parties hereto irrevocably and unconditionally submits
      itself to the exclusive jurisdiction and venue of the state and
      federal courts serving Jacksonville, Florida, and any appellate
      court thereof, in any suit, action or proceeding arising out of or
      relating to this Agreement and further irrevocably and
      unconditionally waives any claim or defense that any such suit,
      action or proceeding brought in any such court has been brought in
      an inconvenient forum.

      18.   Accordingly, Gozal consented to the jurisdiction of this Court and

to this Court being a proper venue for this action, which arises out of and/or

relates to the Gozal Agreement.

                       GENERAL ALLEGATIONS

      19.   Mast Logistics Services (“the Customer”) contracted Landstar to

arrange for transportation of candles and wall flowers (“the Shipment”) from

New Albany, Ohio to a consignee in McDonough, Georgia.

      20.   Governed by the Perfect Agreement, on or about February 20,

2023, Landstar arranged for Perfect to transport the Shipment from New

Albany, Ohio to McDonough, Georgia. A copy of the governing bill of lading

for the Shipment (the “Bill of Lading”), is attached hereto as Exhibit C. A

copy of the rate confirmation for the Shipment (the “Rate Confirmation”) is

attached hereto as Exhibit D.


                                      5
      21.   On or about February 20, 2023, Perfect and Gozal utilized a

shared dispatch service.

      22.   On or about February 20, 2023, a dispatcher under the shared

dispatch arrangement accepted tender of the Shipment from Landstar on

behalf of Perfect.

      23.   Under its broker authority, Perfect then arranged for the

Shipment to be transported by Gozal, a licensed motor carrier.

      24.   The driver, Shah Syed (the “Driver”), picked up the Shipment

under Gozal’s authority in New Albany, Ohio on or about February 22, 2023.

      25.   The Shipment was picked up in New Albany, Ohio on or about

February 22, 2023, in good condition.

      26.   However, during transit the Driver was involved in an accident

that caused significant damage to the Shipment. A copy of the Incident

Report is attached hereto as Exhibit E.

      27.   The Shipment was deemed a total loss and could not be salvaged.

A copy of the Certificate of Destruction is attached hereto as Exhibit F.

      28.   As such, the Customer’s third-party claim administrator

Gallagher Basset (“GB”) made and submitted a Presentation of Loss and

Damage Claim dated May 2, 2023 to Landstar on behalf of Customer,

representing the total amount of damages suffered by the Customer as

$113,116.32 due to the damage to the Shipment. A true and correct copy of


                                        6
the Presentation of Loss and Damage Claim is attached hereto as Exhibit

G.

      29.   Pursuant to the Services Contract between the Customer and

Landstar, Landstar was liable to the Customer for the damages stated in the

Presentation of Loss and Damage Claim dated May 2, 2023 .

      30.   Accordingly,    Landstar     issued   payment      to   GB    totaling

$113,116.32.

      31.   In exchange for payment pursuant to the Presentation of Loss

and Damage Claim, the Customer executed an Assignment. Thus, Landstar

is the owner and assignee of said claim.

      32.   Landstar retained the undersigned attorney to represent it in this

matter and has agreed to pay a reasonable fee for such services.

      33.   As of the filing of this action, Perfect has failed to accept liability

for its loss of the Shipment.

      34.   As of the filing of this action, Gozal has failed to accept liability

for the loss of the Shipment.

      35.   All conditions precedent to this action have occurred, been

satisfied, or have been waived.

                COUNT ONE – BREACH OF CONTRACT
                      (against Perfect 1, LLC)



                                        7
      36.    Landstar incorporates paragraphs 1 through 35 as if fully set

forth herein.

      37.    Having duly entered into the Perfect Agreement with Landstar,

Perfect was bound by Perfect’s Agreement terms and conditions when Perfect

accepted the Shipment pursuant to the Rate Confirmation. See Exhibit A;

Exhibit D.

      38.    Paragraphs 8 and 11 of the Perfect Agreement make Perfect

wholly responsible for performing the transportation services contemplated

by its Agreement and liable for damages arising from cargo loss, damage or

delay in the performance of such services. See Exhibit A, ¶8, 11.

      39.    Paragraph 17 of the Perfect Agreement provides:

      “CARRIER shall transport all freight tendered by BROKER only on
      Equipment operated under CARRIER’s for-hire motor carrier
      authority. CARRIER shall not in any way sub-contract, broker, or
      arrange for the freight to be transported by a third party without
      BROKER’s prior written consent.”
      See Exhibit A, ¶17.

      40.    Perfect breached its Agreement by arranging for the Shipment to

be transported by Gozal without Landstar’s prior written consent.

      41.    Paragraph 9 of the Agreement makes Perfect responsible for

defending, indemnifying, and holding Landstar harmless “from and against

all loss, liability, judgment, damage, claim, fine, cost or expense, including

reasonable attorneys’ fees, arising out of or in any way related to” Perfect’s

performance or breach of the Perfect Agreement. See Exhibit A, ¶9.
                                        8
      42.   Perfect further breached the Agreement by failing to indemnify

and hold Landstar harmless for the cargo loss, costs, and attorneys’ fees

Landstar incurred as a result of     Perfect’s breach of its Agreement. See

Exhibit A, ¶9.

      43.   As a direct result of Perfect’s breach of its Agreement, Perfect is

liable for Landstar’s actual damages in the amount of $113,116.32.

      44.   Landstar has accrued costs and reasonable attorneys’ fees in

enforcing the Agreement and in pursuing its losses and contractual

indemnification from Perfect, which attorney’s fees and costs are recoverable

under the Agreement. See Exhibit A, ¶11.

      WHEREFORE, Plaintiff, Landstar Blue, Inc., demands judgment in its

favor and against Defendant, Perfect 1, LLC., an award of damages totaling

$113,116.32 plus attorneys’ fees and costs pursuant to the Agreement, and

for any other relief which this Court deems appropriate.

    COUNT TWO - CARMACK AMENDMENT (in the alternative)
                  (against Perfect 1, LLC)

      45.   Landstar incorporates paragraphs 1 through 35 as if fully set

forth herein.

      46.   Plaintiff brings this cause of action based on the assigned rights

it possesses from GB.



                                      9
      47.   As the motor carrier accepted tender of the Shipment and was

legally bound to transport, Perfect is liable to the party entitled to recover for

the full actual value of the lost, damaged, or delayed property under 49

U.S.C. §14706 (the “Carmack Amendment”).

      48.   As the assignee and owner of the Presentation of Loss and

Damage Claim, Landstar is the party entitled to recover the full actual value

of the damaged property under the Carmack Amendment. See Exhibit F.

      49.   As a direct and proximate result of Perfect’s failure to properly

deliver the Shipment undamaged, Landstar has suffered damages in the

amount of $113,116.32.

      WHEREFORE, Plaintiff, Landstar Blue, Inc., demands judgment in its

favor and against Defendant Perfect 1, LLC. an award of damages totaling

$113,116.32, and for any other relief which this Court deems appropriate.

                COUNT THREE - CARMACK AMENDMENT
                        (against Gozal, Inc.)

      50.   Landstar incorporates paragraphs 1 through 35 as if fully set

forth herein.

      51.   Plaintiff brings this cause of action based on the assigned rights

it possesses from GB.




                                       10
      52.   As the motor carrier in possession of the Shipment, Gozal is

liable to the party entitled to recover for the full actual value of the lost,

damaged, or delayed property under the Carmack Amendment.

      53.   As the assignee and owner of the Presentation of Loss and

Damage Claim, Landstar is the party entitled to recover the full actual value

of the lost property under the Carmack Amendment. See Exhibit F.

      54.   As a direct and proximate result of Gozal’s failure to properly

deliver the Shipment undamaged, Landstar has suffered damages in the

amount of $113,116.32.

      WHEREFORE, Plaintiff, Landstar Blue, Inc., demands judgment in its

favor and against Defendant Gozal, Inc. an award of damages totaling

$113,116.32, and for any other relief which this Court deems appropriate.

                COUNT FOUR – BREACH OF CONTRACT
                        (against Gozal, Inc.)

      55.   Landstar incorporates paragraphs 1 through 33 as if fully set

forth herein.

      56.   Having duly entered into the Gozal Agreement with Landstar,

Gozal’s carriage of the Shipment was subject to Gozal’s Agreement’s terms

and conditions. See Exhibit B.

      57.   Paragraphs 8 and 11 of the Gozal Agreement make Gozal wholly

responsible for performing the transportation services contemplated by the

                                      11
Agreement and liable for damages arising from cargo loss, damage or delay

in the performance of such services. See Exhibit B, ¶8, 11.

      58.   Paragraph 9 of the Agreement makes Gozal responsible for

defending, indemnifying, and holding Landstar harmless “from and against

all loss, liability, judgment, damage, claim, fine, cost or expense, including

reasonable attorneys’ fees, arising out of or in any way related to” Gozal’s

performance or breach of the Agreement. See Exhibit B, ¶9.

      59.   Gozal further breached the Agreement by failing to indemnify

and hold Landstar harmless for the cargo loss, costs, and attorneys’ fees

Landstar incurred as a result of Gozal’s breach of the Agreement. See

Exhibit B, ¶9.

      60.   As a direct result of Gozal’s breach of the Agreement, Gozal is

liable for Landstar’s actual damages in the amount of $113,116.32.

      61.   Landstar has accrued costs and reasonable attorneys’ fees in

enforcing the Agreement and in pursuing its losses and contractual

indemnification from Gozal, which attorney’s fees and costs are recoverable

under the Agreement. See Exhibit B, ¶11.

      WHEREFORE, Plaintiff, Landstar Blue, Inc., demands judgment in its

favor and against Defendant Gozal, Inc. an award of damages totaling

$113,116.32, plus attorneys’ fees and costs pursuant to the Agreement, and

for any other relief which this Court deems appropriate.
                                      12
        COUNT FIVE – UNLAWFUL BROKERAGE ACTIVITIES
         (against Perfect 1 LLC and Jane and John Does I - V)

      62.   Landstar incorporates paragraphs 1 through 35 as if fully set

forth herein.

      63.   Perfect is a for hire motor carrier authorized by the Federal

Motor Carrier Safety Administration to transport property in intrastate

commerce and is not a property broker authorized under, and in compliance

with, 49 U.S.C. §13904.

      64.   Landstar contracted Perfect to transport the Shipment from New

Albany, Ohio to McDonough, Georgia.

      65.   Perfect acted as a property broker pursuant to 49 U.S.C. § 14916

when it contracted Gozal to transport the Shipment from Albany, Ohio to

McDonough, Georgia.

      66.   Jane and John Does I – V are individual officers, directors,

and/or principals of Perfect.

      67.   Perfect, acting as a property broker, unlawfully tendered the

Shipment to Gozal.

      68.   Perfect and Jane and John Does I – V violated 49 U.S.C. § 14916

when they knowingly engaged in unlawful brokering activities by engaging

in brokerage operations despite not having the requisite broker authority.




                                     13
      69.   Pursuant to 49 U.S.C. §14706, Perfect and Jane and John Does I

- V are jointly and severally liable for civil penalties and Landstar’s claims

incurred without regard to amount.

      WHEREFORE, Plaintiff, Landstar Blue, Inc., demands judgment in its

favor and against Defendants Perfect 1 LLC and Jane and John Does I - V

an award of damages totaling $113,116.32, plus attorneys’ fees and costs

pursuant to the Agreement, and for any other relief which this Court deems

appropriate.

        COUNT SIX – UNLAWFUL BROKERAGE ACTIVITIES
     (against Gozal Incorporated and Jane and John Does VI - X)

      70.   Landstar incorporates paragraphs 1 through 35 as if fully set

forth herein.

      71.   Gozal is a for hire motor carrier authorized by the Federal Motor

Carrier Safety Administration to transport property in intrastate commerce.

      72.   Gozal accepted, consented to, or permitted, directly or indirectly,

in conjunction with Perfect, which is not a property broker authorized under

49 U.S.C. §13904, the transportation of the Shipment from New Albany,

Ohio to McDonough, Georgia.

      73.   Jane and John Does VI – X are individual officers, directors,

and/or principals of Gozal.




                                      14
      74.   Gozal and Jane and John Does VI – X knowingly authorized,

consented to, and/or permitted, directly or indirectly, Perfect to broker the

Shipment to Gozal in violation of 49 U.S.C. §14916

      75.   Pursuant to 49 U.S.C. §14706, Gozal and Jane and John Does IV

- X are jointly and severally liable for civil penalties and Landstar’s claims

incurred without regard to amount.

      WHEREFORE, Plaintiff, Landstar Blue, Inc., demands judgment in its

favor and against Defendants Gozal and Jane and John Does I - V an award

of damages totaling $113,116.32, plus attorneys’ fees and costs pursuant to

the Agreement, and for any other relief which this Court deems appropriate.



Date: February 26, 2025              Respectfully submitted,
                                     /s/ Lauren Feldman
                                         Lauren Feldman, Esq.
                                         Florida Bar No. 106075
                                         Sophia Bernard, Esq.
                                         Florida Bar No. 113805
                                         TAYLOR NELSON, P.A.,
                                         ATTORNEYS AT LAW, P.L.
                                         20 3rd Street SW, Suite 209
                                         Winter Haven, FL 33880
                                         (863) 875-6950 (tel)
                                         (863) 875-6955 (fax)
                                         sbernard@taylorlawpl.com
                                         lfeldman@taylorlawpl.com
                                         efiling@taylorlawpl.com
                                         lroberts@taylorlawpl.com

                                     Counsel for Plaintiff
                                     15
                      CERTIFICATE OF SERVICE
       I hereby certify that on February 26, 2025, the foregoing document was
filed with the Clerk of Court through the CM/ECF system.


                                     /s/ Lauren Feldman




                                     16
